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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 MICHAEL WOOD,                                               CIVIL ACTION

        Plaintiff,
                                                             NO. 19-2820-KSM
        v.

 SAROJ & MANJU INVESTMENTS
 PHILADELPHIA LLC d/b/a PAPA JOHN’S, et
 al.,

        Defendants.


                                             ORDER

       AND NOW, this 28th day of December, 2020, upon consideration of Plaintiff’s

Amended Unopposed Motion for Preliminary Approval of the Class/Collective Action

Settlement; Provisional Certification of the Proposed Settlement Class/Collective Actions;

Appointment of Class Counsel; Approval of the Form of Class Notice, Distribution Plan, and

Claims Form; and Issuance of a Stay and Setting the Final Approval Hearing (“Motion for

Preliminary Approval” or “Motion”) (Doc. No. 26), and for the reasons stated in the

accompanying memorandum, it is ORDERED that Plaintiff’s Motion (Doc. No. 26) is

GRANTED. It is FURTHER ORDERED as follows:

       1.       Unless otherwise stated, all terms used in this Order shall have the meanings

ascribed to them in the parties’ settlement agreement (Doc. No. 26-2).

       2.       Plaintiff Michael Wood is appointed to serve as the class representative pursuant

to Federal Rule of Civil Procedure 23.

       3.       The following attorneys are appointed as class counsel pursuant to Federal Rule




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of Civil Procedure 23:

                         Joe P. Leniski, Jr., Esquire
                         BRANSTETTER, STRANCH & JENNINGS, PLLC
                         The Freedom Center
                         223 Rosa Parks Av, Ste. 200
                         Nashville, TN 37203

                         Patrick Howard, Esquire
                         SALTZ, MONGELUZZI, & BENDESKY, P.C.
                         1650 Market Street, 52nd Floor
                         Philadelphia, PA 19103

       4.       The Court will hold a final approval hearing on April 14, 2021 at 10:00 a.m. to

determine the fairness, adequacy, and reasonableness of the settlement agreement, and to

consider whether to grant final approval of the settlement agreement and class counsel’s

application for attorneys’ fees and expenses.

       5.       Plaintiff shall file papers in support of class counsels’ application for attorneys’

fees and expenses and Plaintiff’s incentive award on or before March 15, 2021.

       6.       Plaintiff shall file papers in support of final approval of the settlement agreement

and response to any written objections on or before March 29, 2021.

       7.       Defendants may file papers in support of the final settlement agreement. If they

choose to do so, such papers shall be filed on or before March 29, 2021.

       8.       CAC Services Group, LLC is appointed as the Claims Administrator, and shall

perform all the duties of the settlement claims administrator, as set out in the parties’ settlement

agreement.

       9.       For the reasons discussed in the accompanying memorandum, the proposed class

notice shall be amended as follows:




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               a.      The class notice shall be addressed to: “All delivery drivers who worked

                       for Defendants during the period dating back to three years prior to

                       December 28, 2020.”

               b.      The definition of the Rule 23 class and the FLSA collective on page 3 of

                       the class notice shall be corrected to refer to the class and collective as

                       “All delivery drivers who worked for Defendants during the period dating

                       back to three years prior to December 28, 2020.”

               c.      A sentence must be added to the end of the first paragraph Part XIV of the

                       class notice. This sentence will read: “You may also find additional

                       information on the settlement website at [web address for the settlement

                       website].”

        10.    Defendants shall provide CAC with the Final Class Data List on or before

January 7, 2021.

        11.    CAC shall mail the notice packet on or before January 12, 2021.

        12.    CAC shall provide proof that notice was provided to class members in accordance

with the parties’ settlement agreement and this Order on or before March 29, 2021.

        13.    Class members must submit their claims forms to CAC on or before March 15,

2021.

        14.    Class members who wish to either object to or opt out of the settlement agreement

must do so on or before March 15, 2021. Class members may not both object and opt out. In

the event a class member both objects and opts out, the request to opt out will control.

        15.    Class members may opt out of the settlement by mailing or faxing a document


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containing the following information to CAC:

               a.     The class member’s full name.

               b.     The class member’s address.

               c.     The class member’s telephone number.

               d.     The following statement: “I/we request to be excluded from the class

                      settlement in Wood v. Saroj and Manju Investments Philadelphia LLC, et

                      al., Case No. 2:19-cv-2820.”

               e.     The class member’s signature.

       16.     Requests to opt out of the settlement must contain all of the information included

in paragraph 15. Class members may only opt themselves out; they may not opt out other class

members, nor may a representative (such as an attorney) submit an opt out request on a class

member’s behalf.

       17.     CAC shall retain all opt out requests. CAC shall file these requests with the Court

under seal on or before April 5, 2021.

       18.     The settlement agreement shall not bind any class members who elect to opt out.

       19.     Class members who wish to object to the settlement must file their objection with

the Court and mail a copy of it to class counsel. The objection must include the following

information:

               a.     The name and case number of this matter.

               b.     The objector’s full name.

               c.     The objector’s address.


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               d.      The objector’s telephone number.

               e.      Facts showing that the objector is a member of the settlement class.

               f.      The reasons the objector objects to the proposed settlement agreement,

                       including any legal basis for objection.

               g.      The identity of any current or former counsel who represented the counsel

                       with respect to the claims in this lawsuit.

               h.      The identity of any counsel representing the objector who will appear at

                       the final approval hearing.

               i.      A list of witnesses, if any, who will be called to testify at the final

                       approval hearing in support of the objection.

               j.      A statement indicating whether the objector intends to appear in person at

                       the final approval hearing.

               k.      The objector’s signature.

       20.     Unless a class member makes an objection in compliance with paragraph 19 of

this Order, he or she will be deemed to have waived all objections.

       21.     Pending the final determination of whether the Settlement should be approved, the

Class Representatives and all persons in the settlement class who have not affirmatively opted

out of this action are hereby stayed and enjoined from commencing, pursuing, maintaining,

enforcing, or prosecuting, either directly or indirectly, any Released Claims in any judicial,

administrative, arbitral, or other forum, against any of the Released Parties. Such injunction will

remain in force until the Court enters the Final Approval Order or until such time as the Parties

notify the Court that the Settlement has been terminated. Nothing herein will prevent any person

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in the Settlement Class, or any person actually or purportedly acting on behalf of any such

person(s), from taking any actions to stay or dismiss any Released Claim(s). This injunction

does not apply to any person who requests to opt-out/exclude themselves from the settlement

pursuant to Paragraphs 14–16 of this Order.

       22.     If the proposed settlement is not approved or consummated, the proposed

settlement and the proceedings associated with it shall not prejudice the right of the parties to

assert any right or position that could have been asserted had the parties not reached the

settlement agreement. The certification of the class for settlement purposes shall not bear on any

subsequent litigation of class certification issues.

       23.     The settlement agreement and all negotiations, documents, and discussions

associated with it will not be deemed or construed an admission or evidence of any violation of

any statute, law, rule, regulation, or principle of common law or equity, or of any wrongdoing by

Defendants, or the truth of any of Plaintiff’s claims. Evidence relating to the discovery

agreement shall not be discoverable, except for purposes of demonstrating, describing,

implementing, or enforcing the terms of the settlement agreement, this Order, and any final

approval order.

       24.     Counsel may use all reasonable procedures in connection with approval and

administration of the settlement that are not materially inconsistent with the settlement

agreement and this Order. These include making, without further approval of the Court, minor

changes to the form or content to the class notice and claim form and other exhibits that they

jointly agree are reasonably and necessary and do not materially alter the terms of the proposed

settlement. The Court reserves the right to approve the settlement agreement with such

modifications, if any, as agreed to by the parties without further notice to the members of the




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class. However, to the extent the parties make any such changes, they shall document the change

and justify their reasons for it in their filings seeking final approval of the settlement agreement.

       25.     Plaintiff’s Unopposed Motion for Preliminary Approval of the Class/Collective

Action Settlement; Provisional Certification of the Proposed Settlement Class/Collective

Actions; Appointment of Class Counsel; Approval of the Form of Class Notice, Distribution

Plan, and Claims Form; and Issuance of a Stay and Setting the Final Approval Hearing (Doc. No.

17) is DENIED as moot.

IT IS SO ORDERED.

                                                               /s/ Karen Spencer Marston
                                                               ______________________________
                                                               KAREN SPENCER MARSTON, J.




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